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                 EXHIBIT 2
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                              UNITED STATES DISTRICT COURT
                                                 DISTRICT OF ARIZONA

            United States of America
                       v.                                                           ORDER OF DETENTION PENDING TRIAL

                    Ian Michael Fried                                               Case Number: 21-338MJ

In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held.
I conclude that the following facts are established: (Check one or both, as applicable.)
☒         by clear and convincing evidence the defendant is a danger to the community and require
          the detention of the defendant pending trial in this case.
☐         by a preponderance of the evidence the defendant is a flight risk and require the detention
          of the defendant pending trial in this case.

                                                           PART I -- FINDINGS OF FACT
☒                  (1)   There is probable cause to believe that the defendant has committed
                 ☐ an offense for which a maximum term of imprisonment of ten years or more is
                   prescribed in 21 U.S.C. §§ 801 et seq., 951 et seq, or 46 U.S.C. App. § 1901 et
                   seq.
                 ☐ an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332(b).
                 ☐ an offense listed in 18 U.S.C. § 2332b(g)(5)(B) (Federal crimes of terrorism) for which a
                     maximum term of imprisonment of ten years or more is prescribed.
                 ☒ an offense involving a minor victim prescribed in 18 USC 2252.1
☐                  (2)   The defendant has not rebutted the presumption established by finding 1
                   that no condition or combination of conditions will reasonably assure the
                   appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings

☐                    (1)   There is a serious risk that the defendant will flee; no condition or
                     combination of conditions will reasonably assure the appearance of the defendant
                     as required.
☒                    (2)   No condition or combination of conditions will reasonably assure the safety
                     of others and the community.
☐                    (3)    There is a serious risk that the defendant will obstruct or attempt to obstruct
                     justice; or threaten, injure, or intimidate a prospective witness or juror.




    1
     Insert as applicable: Title 18, § 1201 (kidnapping), § 1591 (sex trafficking), § 2241 (aggravated sexual abuse), § 2242 (sexual abuse), §2244(a)(1)
(abusive sexual contact), § 2245 (offenses resulting in death), § 2251 (sexual exploitation of children), § 2251A (selling or buying of children), § 2252 et
seq. (certain activities relating to material involving sexual exploitation of minors), § 2252A et seq. (certain activities relating to material constituting or
containing child pornography), § 2260 (production of sexually explicit depictions of minors for importation into the U.S.), § 2421 (transportation for
prostitution or a criminal sexual activity offense), § 2422 (coercion or enticement for a criminal sexual activity), § 2423 (transportation of minors with
intent to engage in criminal sexual activity), § 2425 (use of interstate facilities to transmit information about a minor).
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            PART II -- WRITTEN STATEMENT OF REASONS FOR DETENTION
                            (Check one or both, as applicable.)
☒            (1)    I find that the credible information submitted at the hearing establishes by
             clear and convincing evidence as to danger that:
             Defendant, age 56, is a danger for which no conditions will reasonably
             secure the safety of the community. Defendant allegedly possessed more
             than 200 images and videos of sexual abuse of children. He allegedly
             possessed some of these items since 2003, and has been actively
             downloading and viewing child images since that time. The nature and
             circumstances of the offense strongly favor detention. Defendant’s history
             and characteristics slightly favor release (lack of criminal history, family
             support, lack of flight after arrest despite the opportunity to flee) over
             detention (past thoughts of suicide, current lack of employment). The
             weight of the evidence, the least important factor, favors detention. The
             nature of the danger to the community favors detention. Defendant’s online
             discussions detail his encouragement of others engagement in this activity,
             and Defendant made statements about what he would like to do to a child
             (see doc 1 at 4, antepenultimate sentence). The Court finds that no
             alternative conditions will reasonably protect the community, and after
             consideration of all the Bail Reform factors, the Court orders Defendant’s
             detention as a danger.



☐            (2)       I find by a preponderance of the evidence as to risk of flight that:

    ☐        The defendant has no significant contacts in the District of Arizona.
    ☐        The defendant has no resources in the United States from which he/she might
             make a bond reasonably calculated to assure his/her future appearance.
    ☐        The defendant has a prior criminal history.
    ☐        There is a record of prior failure to appear in court as ordered.
    ☐        The defendant attempted to evade law enforcement contact by fleeing from law
             enforcement.
    ☐        The defendant is facing a minimum mandatory of Click here to enter text. incarceration
             and a maximum of Click here to enter text..

☐   The defendant does not dispute the information contained in the Pretrial Services Report,
    except:
    Click here to enter text.



☐   In addition:
    Click here to enter text.


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The Court incorporates by reference the findings in the Pretrial Services Report which were
reviewed by the Court at the time of the hearing in this matter.

                     PART III -- DIRECTIONS REGARDING DETENTION

The defendant is committed to the custody of the Attorney General or his/her designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or being held in custody pending appeal. The defendant
shall be afforded a reasonable opportunity for private consultation with defense counsel. On
order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for
the purpose of an appearance in connection with a court proceeding.

                    PART IV -- APPEALS AND THIRD-PARTY RELEASE

IT IS ORDERED that should an appeal of this detention order be filed with the District Court, it
is counsel's responsibility to deliver a copy of the motion for review/reconsideration to Pretrial
Services at least one day prior to the hearing set before the District Judge. Pursuant to Rule
59, FED.R.CRIM.P., Defendant shall have fourteen (14) days from the date of service of a copy
of this order or after the oral order is stated on the record within which to file specific written
objections with the District Court. Failure to timely file objections may waive the right to review.
See Rule 59, FED.R.CRIM.P.

IT IS FURTHER ORDERED that if a release to a third party is to be considered, it is counsel's
responsibility to notify Pretrial Services sufficiently in advance of the hearing before the District
Judge to allow Pretrial Services an opportunity to interview and investigate the potential third-
party custodian.


      Dated this 29th day of November, 2021.




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